Case 1:15-Cv-06824-PGG Document 100 Filed 01/12/18 Page 1 of 2

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January 12, 20l8

VIA ELECTRONIC FILING

The Honorable Paul G. Gardephe
United States District Judge
Southem District of Nevv York
Thurgood Marshall U.S. Courthouse
40 Foley Square, Courtroom 705
NeW York, NeW York 10007

Fax: (212) 805-7986

Re: Ruth Rojas Duarte v. St. Barnabas Hospital (Civil Action No.: 15-cv-6824)

 

Dear Your Honor:

The undersigned is counsel to plaintiff Ruth Rojas Duarte ("Plaintiff') in the above
referenced matter. Currently, the remainder of the Parties’ pre-trial submissions, namely their
respective (i) pre-trial memorandum of lawl; (ii) proposed conclusions of law and findings of
fact; (iii) Witness affidavits; and (iv) deposition designations are due today, January 12, 2018.
Plaintiff respectfully requests that this deadline be extended up to and including Tuesday,
January 16, 2018. Defendant’s Counsel is prepared to file all of its pre-trial submissions that are
due today, but consents to Plaintiff’s request provided that Defendant’s deadline is also extended
so that the filing from both sides occurs on the same day.

The basis for this request is that the undersigned requires additional time to finalize
Plaintiff’ s pretrial submissions to conform With the anticipated evidence and testimony to be
elicited at trial. Specifically, While counsel have been Working diligently on Plaintiff" s pre-bench
trial submissions, due to the Work schedule and limited availability of Witnesses and the Plaintiff,
counsel has been unable to finalize and receive executed copies of the relevant Witness affidavits
Accordingly, the undersigned respectfully requests that the deadline be briefly extended to allow
the Witnesses the Weekend to revievv, finalize, and execute the necessary affidavits Notably, as
previously noted by Plaintiff’ s counsel, the information in the affidavits relates directly to the
proposed conclusions of law and pre-trial memoranda In light of this, the undersigned
respectfully requests that the deadline for the remainder of the parties’ pre-bench trial
submissions be adjourned to Tuesday, January 16, 2018 so that counsel and the Witnesses for the
Parties are permitted the opportunity to finalize and perfect same.

 

1 Notably, Defendant’s counsel had previously consented to extending Plaintiff’s deadline to file her pre-trial
memorandum of law by one week. (_S_<;e_ Dkt. No. 97). The Court has not ruled on that application

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Case 1:15-CV-06824-PGG Document 100 Filed 01/12/18 Page 2 of 2

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Thank you for your consideration of this request.
Respectfully submitted,

NESENOFF & MILTENBERG LLP

By: /S/ M€@OIV\/ GOO{U[MVD{

Megan S. Goddard, Esq.

cc: Adriana S. Kosovych, Esq. (VIA ECF)
John F. Fullerton, Esq. (VIA ECF)

